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IN THE UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

 

MICHAEL REITERMAN,
Plaintiff,
v. Civil Action No. 8:19-cv-02282-02AAS
FARAH ALI ABID, :
Defendant.
Motion to Intervene and Unseal Documents, and =

Supporting Memorandum of Law eo

Eugene Volokh moves to intervene and unseal the settlement agreement (ECF
No. 1 Exh. A) and the order sealing the agreement (ECF No. 5).

Summary of Argument

Both federal common law and the First Amendment give the public a presumptive
right of access to judicial records. This is especially true where the sealed documents
are central to understanding the court’s decision, and therefore to understanding how
the judicial system functions.

The order in this case is subject to a presumption of public access because it 1s a
judicial decision that explains what the court ordered and why. Likewise, the settle-
ment agreement, the terms of which are of interest to the public and integral to un-
derstanding the merits of the case, is subject to a presumption of public access. Be-
cause, in this case, the presumption has not been overcome, the documents should be

unsealed.
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I. Professor Volokh should be allowed to intervene.

“TBJecause it is the rights of the public, an absent third party, that are at stake,
any member of the public has standing to view documents in the court file . . . and to
move the court to unseal the court file in the event the record has been improperly
sealed.” Brown v. Advantage Eng’g, Inc., 960 F.2d 1018, 1016 (11th Cir. 1992) (em-
phasis added); see also Newman v. Graddick, 696 F.2d 796, 800 (11th Cir. 1983) (up-
holding “the press’s standing to seek access in suits to which it is not a party.”). This
is consistent with Fed. R. Civ. P. 24(b): where the purpose of the intervention is to
modify a protective order, the commonality requirement of Rule 24(b)(1)(B) is satis-
fied. Boca Raton Cmty. Hosp., Inc. v. Tenet Healthcare Corp., 271 F.R.D. 530, 536-37
(S.D. Fla. 2010); see also Pansy v. Borough of Stroudsburg, 23 F.3d 772, 778 (3d Cir.
1994); Beckman Indus., Inc. v. International Ins. Co., 966 F.2d 470, 474 (9th Cir.
1992). “[T]hose who seek access to [sealed] material have a right to be heard in a
manner that gives full protection to the asserted right.” Marshall v. Planz, 347 F.
Supp. 2d 1198, 1202 (M.D. Ala. 2004).

Professor Volokh is seeking to intervene in order to assert his right to access the
settlement agreement and the court order sealing the agreement in this case. Volokh
is a professor at UCLA School of Law and publishes The Volokh Conspiracy, a widely-
read legal blog hosted on Reason magazine’s website. His blog covers First Amend-
ment issues like those in this case—including the right of public access to court doc-
uments, libel law, and internet takedown orders. His blog posts often contain com-
mentary that helps serve the purpose of the right of access, which is “to appreciate

fully the often significant events at issue in public litigation and the workings of the

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legal system.” Wilson v. Am. Motors Corp., 759 F.2d 1568, 1571 (11th Cir. 1985)
(quoting Newman, 696 F.2d at 803). Thus, either as a member of the public or as a
member of the media, Professor Volokh should be allowed to intervene under Rule
24(b).

Il. This Court retains jurisdiction over this matter.

“The general rule regarding divestiture of jurisdiction”’—that filing a notice of ap-
peal divests the district court of jurisdiction—‘does not apply to collateral matters
not affecting the questions presented on appeal.” Weaver v. Fla. Power & Light Co.,
172 F.3d 771, 773 (11th Cir. 1999); see also Doe v. Bush, 261 F.3d 1037, 1064 (11th
Cir. 2001) (similarly retaining jurisdiction over collateral matters).

The appeal from the order denying the compulsion of arbitration does not address
the sealing of the settlement agreement and court order. Notice of Appeal, Reiterman
v. Abid, No. 19-CV-02282 (Mar. 25, 2020). Thus, this Court retains jurisdiction to
enter an order to unseal.

III. The common-law right of access applies to the court order and settle-

ment agreement because they are integral to the judicial resolution of
the merits.

There is a strong presumption in favor of access to civil court documents. Nixon
v. Warner Communications, Inc., 435 U.S. 589, 597-99, 609 (1978); Wilson, 759 F.2d
at 1568. Public access to judicial proceedings is an “essential component of our system
of justice” and thus access to them “is instrumental in securing the integrity of the
process.” Chicago Tribune Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304, 1311
(11th Cir. 2001). “Once a matter is brought before a court for resolution, it is no longer

solely the parties’ case, but also the public’s case.” Brown, 960 F.2d at 1016.

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As a result, “materials that invoke ‘judicial resolution of the merits” are subject
to a presumption of public access. FTC v. AbbVie Prods. LLC, 713 F.3d 54, 63 (11th
Cir. 2013); see also Comm’, Ala. Dep’t of Corr. v. Advance Local Media, LLC, 918 F.3d
1161, 1167 (11th Cir. 2019). “Judges deliberate in private but issue public decisions
after public arguments based on public records. .. . Any step that withdraws an ele-
ment of the judicial process from public view makes the ensuing decision look more
like fiat and requires rigorous justification.” Perez-Guerrero v. U.S. Att’y Gen., 717
F.3d 1224, 1235 (11th Cir. 2013) (quoting Hicklin Eng’g, L.C. v. Bartell, 439 F.3d 346,
348 (7th Cir. 2006)).

“[A] presumption of public access attaches” to the court’s sealing decision because
“decisions are adjudications—direct exercises of judicial power the reasoning and sub-
stantive effect of which the public has an important interest in scrutinizing.” Gubarev
v. Buzzfeed, Inc., 365 F. Supp. 3d 1250, 1258 (S.D. Fla. 2019); see also Doe v. Pub.
Citizen, 749 F.3d 246 (4th Cir. 2014) (“[D]istrict courts [are not given] carte blanche
to conduct secret proceedings, and, more importantly, the Constitution forbids it.”).
The sealed sealing order contains important information regarding this Court’s rea-
soning for sealing the settlement agreement and “[t]he public has a right to access . .
_ rationales for sealing to see what the Court found persuasive (and what it did not).”
Gubarev, 365 F. Supp. 3d at 1263. The Seventh Circuit went so far as to say, “[w]e
hope never to encounter another sealed opinion.” Hicklin, 439 F.3d at 349.

Similarly, the right of access covers settlement agreements. “Once a settlement is

filed in district court, it becomes a judicial record.” S.E.C. v. Van Waeyenberghe, 990
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F.2d 845, 849 (5th Cir. 1993); see also Brown, 960 F.2d at 1015-16 (so concluding even
when no dispute had arisen over the settlement agreement). “[T]he public ‘has an
interest in knowing what terms of settlement a federal judge would approve.’ As an
active component of the judge’s decision, the settlement agreement is presumptively
a public record.” Dees v. Hydradry, Inc., 706 F. Supp. 2d 1227, 1244-45 (M.D. Fla.
2010) (quoting Jessup v. Luther, 277 F.3d 926, 929 (7th Cir. 2002)). This Court’s local
rules agree: “No settlement agreement shall be sealed absent extraordinary circum-
stances.” Civil L. R. 1.09.

Settlement agreements should especially be publicly accessible where they are es-
sential to the understanding of the case. This case revolves around an alleged breach
of the settlement agreement, which the Court’s decision has cited and relied on. The
issue on appeal centers on the validity of an arbitration clause in the settlement
agreement. Understanding both this court’s decision and the appeal requires review-
ing the settlement agreement, because the agreement is being “presented to the court
to invoke its powers or affect its decisions,” making it integral to the “judicial resolu-
tion of the merits” of the case. Romero v. Drummond Co., 480 F.3d 1234, 1246 (11th
Cir. 2007); Advance Local Media, 918 F.3d at 1167. Thus, the presumption of public
access applies to this document.

The common law right of access may be overcome by a showing of good cause,
which requires “balanc[ing] the asserted right of access against the other party’s in-
terest in keeping the information confidential.” Chi. Tribune, 263 F.3d at 1309; New-

man, 696 F.2d at 803. In balancing the interests, courts consider whether allowing
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access would harm legitimate privacy interests, the degree of and likelihood of injury
if made public, and the availability of a less onerous alternative to sealing the docu-
ments. Romero, 480 F.3d at 1246; In re Alexander Grant & Co. Litig., 820 F.2d 352,
356 (11th Cir. 1987); Shingara v. Skiles, 420 F.3d 301, 305-06 (8d Cir. 2005).

Since the sealing order has itself been sealed, it is difficult to fully understand the
court’s rationale for its decision, but there appears to be no sufficient interest for
sealing either the order or the settlement agreement. The agreement contains no ev-
idence of the extraordinary circumstances listed in the local rules as possible justifi-
cations for sealing a settlement agreement— “preservation of national security, pro-
tection of trade secrets, . . . protection of especially vulnerable persons, . . . or protec-
tion of nonparties without either the opportunity or ability to protect themselves.”
Civil L. R. 1.09. To the extent the agreement may reference non-parties, their safety
and privacy could be preserved by redacting the agreement, rather than sealing the
whole document. Romero, 480 F.3d at 1239 (holding documents should have been re-
dacted, sealing considered excessive).

IV. The court order and settlement agreement should be unsealed under
the First Amendment right of access to judicial documents.

The public and press also have a qualified First Amendment right to access cer-
tain judicial documents, Chi. Tribune, 268 F.3d at 1315; Newman, 696 F.2d at 800-
01; Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 120 n.4 (2d Cir. 2006); In re
Avandia Mktg., Sales Practices & Prods. Liab. Litig., 924 F.3d 662, 673 (3d Cir. 2019);
Washington Post v. Robinson, 935 F.2d 282, 287 (D.C. Cir. 1991), when (1) they are

of a kind that has historically been open to inspection by the press and the public,
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and (2) public access plays a significant positive role in the functioning of the partic-
ular process to which the documents relate, Press-Enter. Co. v. Superior Court, 478
U.S. 1, 9 (1986). This First Amendment right of access “may be overcome only by an
overriding interest based on findings that closure is essential to preserve higher val-
ues and is narrowly tailored to that interest.” Id. at 8-9.

Judicial orders have historically been open to the press and general public, be-
cause “[t]he operations of the courts and the judicial conduct of judges are matters of
utmost public concern.” Gubarev, 365 F. Supp. 3d 1250, 1255 (quoting Landmark
Comme'ns, Inc. v. Virginia, 485 U.S. 829, 839 (1978)). Access to judicial orders also
protects “the citizen’s desire to keep a watchful eye on the workings of public agen-
cies,” thus helping promote the proper functioning of the legal system. Advance Local
Media, 918 F.3d at 1166 (citations omitted). The sealing order contains the court’s
reasoning for sealing the document, and citizens cannot understand the workings of
the legal system where the rationale for decisions is hidden. Thus, the sealing order
is protected by the First Amendment right of access.

Similarly, there is a presumptive right of access to the settlement agreement. As
discussed above, to understand this case—which is at this point in large part a dis-
pute about the settlement agreement—the public needs to be able to see the agree-
ment itself. Sealing the document impairs the public’s ability to scrutinize judicial
decision-making, the very reason for the First Amendment right of access. United

States v. Erie County, 763 F.3d 235, 240 (2d Cir. 2014) (‘The presumption of access
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to judicial documents is ‘based on the need for federal courts . . . to have a measure of

accountability and for the public to have confidence in the administration of justice.”).

Once a qualified First Amendment right of access has been found, the document

can remain sealed only if “closure is essential to preserve higher values and is nar-

rowly tailored to serve those interests.” Press-Enter., 478 U.S. at 13-14. The First

Amendment right of access, which can only be overcome under more stringent cir-

cumstances than the common law presumption, is not rebutted for the same reasons

the presumption is not overcome under the federal common law (see Part IIT). There

is no compelling interest present for sealing the sealing order or the settlement agree-

ment; thus, the documents should be unsealed.

Conclusion

Whether the right of access is grounded in the common law or the Constitution,

the public has a presumptive right to access the sealed sealing order and settlement

agreement. There is no reason to believe this presumption should be rebutted here.

Thus, these documents should be unsealed.

Respectfully submitted,

/s/ Eugene Volokh
Eugene Volokh

Pro se

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tification purposes only)

July 22, 2020
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RULE 3.01(g) CERTIFICATION

In accordance with Local Rule 3.01(g), Intervenor certifies that on March 26 and
27, 2020, and May 8 and 12, 2020, the undersigned conferred with Counsel for Plain-
tiff and Defendant concerning this motion. Counsel for Defendant consents to the

motion to intervene and the motion to unseal. Counsel for Plaintiff takes no position

on any of the motions.

/s/ Eugene Volokh
Eugene Volokh
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CERTIFICATE OF SERVICE

I certify that I served counsel for the parties by e-mail with their consent on July
22, 2020, at:

Krista Lee Baughman KBaughman@dhillonlaw.com>, Counsel for Plaintiff

Luke Lirot <luke2@lirotlaw.com>, Counsel for Defendant

/s/ Eugene Volokh
Eugene Volokh

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